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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

In re:                                      :
                                            :
                                            :     Chapter 11
HOUSTON REGIONAL SPORTS                     :
NETWORK, L.P.                               :
              Alleged Debtor.               :     Case No.: 13-35998
                                            :
                                            :


 EXHIBIT A TO PETITIONING CREDITORS’ AMENDED MOTION TO SEAL
    EXHIBITS CONTAINING CONFIDENTIAL RATE INFORMATION


                   EXHIBIT NO.              BATES LABEL
                   Joint Exhibit 6       ASTROS00000592-645

                   Joint Exhibit 11      PET.CREDS00006776-81

                   Joint Exhibit 12      PET.CREDS00000082-87

                   Joint Exhibit 14      PET.CREDS00004349-51

                   Joint Exhibit 15      PET.CREDS00001621-25

                   Joint Exhibit 42      PET.CREDS00000046-50

                   Joint Exhibit 43      PET.CREDS00006470-84

                   Joint Exhibit 44       ASTROS00006225-40

                      PCX-001            PET.CREDS00006186-87

                      PCX-013            PET.CREDS00006991-97

                      PCX-014            PET.CREDS00006987-88

                      PCX-015            PET.CREDS00006790-97

                      PCX-017            PET.CREDS00007035-42

                      PCX-019            PET.CREDS00006764-68




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        EXHIBIT NO.                    BATES LABEL
           PCX-020                  PET.CREDS0000007-10

           PCX-023                  PET.CREDS00006738-42

           PCX-031                  PET.CREDS00004352-56

           PCX-044                  PET.CREDS00002239-43

           PCX-052                  PET.CREDS00000046-50

           PCX-053                   ASTROS00006279-87

           PCX-085                   ASTROS00000592-645

           PCX-086                  PET.CREDS00005727-36

           PCX-095                  PET.CREDS00001707-29

           PCX-106                  PET.CREDS00004473-75

           PCX-108                     ASTROS00005771

        Astros Exhibit 3             ASTROS00000011-21

        Astros Exhibit 5               ASTROS00006091

        Astros Exhibit 6            PET.CREDS00000088-91

        Astros Exhibit 7            PET.CREDS00000092-95

        Astros Exhibit 8            PET.CREDS00000802-05

        Astros Exhibit 9            PET.CREDS00006597-605

       Astros Exhibit 10            PET.CREDS00000762-65

       Astros Exhibit 13            PET.CREDS00006528-31

       Astros Exhibit 14            PET.CREDS00000055-61

       Astros Exhibit 16            PET.CREDS00000026-31

       Astros Exhibit 17            PET.CREDS00006606-12

       Astros Exhibit 20            PET.CREDS00004548-51




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        EXHIBIT NO.                    BATES LABEL
       Astros Exhibit 21            PET.CREDS00001527-43

       Astros Exhibit 22             PET.CREDS00004604

       Astros Exhibit 25            PET.CREDS00005809-16

       Astros Exhibit 26            PET.CREDS00003735-40

       Astros Exhibit 27             ASTROS00001479-81

       Astros Exhibit 28            PET.CREDS00003721-24

       Astros Exhibit 29            PET.CREDS00001660-62

       Astros Exhibit 30             ASTROS00009159-63

       Astros Exhibit 31            PET.CREDS00001582-92

       Astros Exhibit 32            PET.CREDS00001593-603

       Astros Exhibit 40               ASTROS00001201

       Astros Exhibit 47            PET.CREDS00001521-26

       Astros Exhibit 73               ASTROS00004320




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